               Case 6:12-cr-00018-JRH-CLR Document 1385 Filed 08/27/19 Page 1 of 1
GASD Firsi Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B)          Page 1 of2(Pago 2 Not,for Public Disclosure)


                                        United States District CouRT''Ai)Ty:N
                                                                         for the
                                                                                                                  2fll9AUG27 AH II: 39
                                                     Southern          District of         Georgia
                                                               Statesboro Division
                                                                                                                 CLERK-J.v,\:fo.dcC„.-
                                                                                                                         SO. OlS r. O;- W.
                    United States of America
                                   V.                                      )
                                                                           ) Case No:           6;12CR00018-20
                    Lawrence Michael Drayton                               )
                                                                           ) USMNo: 1 1938-180
Date of Original Judgment:         July 30, 2013                           )
Date of Previous Amended Judgment: WA_                                      ^ Matthew K. Hube
(Use Dale ofLast Amended Judgment ifAny)                                        Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                        PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)
        Upon motion of ^ the defendant □ the Director of the Bureau of Prisons □ the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG § 1B1. 10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is;
          S DENIED.            □ GRANTED and the defendant's previously imposed sentence of imprisonment (as rejlected in
the lastjudgment issued) oi                                             months Is reduced to




Except as otherwise provided, all provisions of the judgment dated                          July 30, 2013           shall remain in effect.
IT IS SO ORDERED.


Order Date:
                                                                                                          Judge's signature


Effective Date:                                                                         -hief Judge
                                                                     United^tates District Court
                                                                     Southern District of Georgia
